Case 2:04-cr-20361-.]PI\/| Document 55 Filed 08/18/05 Page 1 of 2 Page|D 73

IN THE UNITED srATEs DISTRICT CoURT F"-ED BY § N__ D.e..

FOR THE WESTERN DISTRICT oF TEI\H\HESSEE5
WESTERN DIvISloN AUG 18 AH ||= 20
* U§. \"*"»’i¥"r mr
wO"‘ !4`\, § §§EM
UNITED STATES oF AMERICA,
*
Plaintiff,
* No. 04-20361-M1
VS.
*
NEGASSI RICHARDSON,
sk
Defendant.

 

ORDER GRANTING PARTIES ’ JOINT MOTION FOR
CONTINUANCE OF SUPPRESSION HEARING AND
MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION TO SUPPRESS

 

lt is hereby ORDERED that the parties’ joint motion to continue the suppression hearing in the
case of defendant, NEGASSI RICHARDSON, currently set for September 2, 2005, is hereby
GRANTED, and the suppression hearing is hereby reset to M, __<L, 2005, at 611 &) [. lt is
also ORDERED that the time provided for the United States to respond to the Defendant’s Motion to
Suppress be extended until M, £3/_, 2005.

DONE at Memphis, Tennessee, this l z day of 2005.

MQW 0an
ED STATES DISTRICT JUDGE

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UNITED S`TATE DRISTIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20361 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

